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    1                         UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
    2                                MIAMI DIVISION
                                CASE NO. 20:CV-23287-DPG
    3

    4    FRANCISCO R. RODRIGUEZ, et al.,           Miami, Florida

    5           Plaintiffs,                        September 23, 2020

    6               vs.                            10:15 a.m. to 11:00 a.m.

    7    IMPERIAL BRANDS, PLC, et al.,             Pages 1 to 39

    8          Defendants.
         ______________________________________________________________
    9

   10                   STATUS CONFERENCE and MOTION HEARING
                        BEFORE THE HONORABLE DARRIN P. GAYLES
   11                       UNITED STATES DISTRICT JUDGE

   12    APPEARANCES:

   13    FOR THE PLAINTIFFS:          FRANCISCO RODRIGUEZ, ESQ.
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    1                     (Call to the Order of the Court.)

    2              COURTROOM DEPUTY:    Calling Rodriguez, and all versus

    3    Imperial Brands, PLC, and all.

    4              Counsel, please make your appearance.

    5              MR. RODRIGUEZ:    Yes, this is Frank R. Rodriguez for the

    6    plaintiffs.    Also on the call is my partner Paulino A. Nunez.

    7    We are from the law firm of Rodriguez Tramont & Nunez.

    8              Also on the call on behalf of the plaintiffs are our

    9    co-counsel James L. Berenthal and David W. Berenthal from the

   10    law firm of Berenthal & Associates.

   11              The Court should also know, in addition, I am also a

   12    party in the case.

   13              THE COURT:   Okay.   Thank you.

   14              MR. RAYMOND:    Good morning, Judge, Mark Raymond, along

   15    with partner Jonathan Etra from the law firm of Broad & Cassel

   16    on behalf of Imperial, and I am joined by our co-counsel,

   17    Andrew Rhys Davies and Justin Ormand.        And Mr. Davies will be

   18    taking the lead on our argument, Judge.

   19              THE COURT:   Okay.   Thank you.

   20              MR. SURGEON:    Good morning, this is Naim Surgeon from

   21    Akerman, and my partner Pedro Freyre is also appearing.          With

   22    us are our co-counsel from Wilmer Hale, Christopher Davies and

   23    Jessica Lutkenhaus.      Also appearing is Tico Almeida, and we are

   24    on behalf of WPP PLC, Young & Rubicam, LLC and BCW, LLC.

   25              THE COURT:   All right.
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    1              Okay.   Good morning.    I originally set this down for a

    2    status conference because I wanted to make sure that the

    3    parties are aware that Mr. Surgeon is one of my former law

    4    clerks.   I don't think it's going to have -- I know it's not

    5    going to have any bearing on my decisions in this matter.           It's

    6    not the first case where Mr. Surgeon has appeared before me or

    7    any of my former law clerks.      It has been years since he

    8    clerked for me, but especially as to the plaintiffs, I just

    9    wanted to make you aware to see if -- well, to see if you had

   10    any objection and to give you an opportunity to file whatever

   11    motion you thought appropriate, but I just wanted to make sure

   12    you are aware.

   13              I am not necessarily expecting a response now but,

   14    Mr. Rodriguez, I am prepared to deal with these motions that

   15    are pending today.     If you prefer not to proceed today, this

   16    will be the time to let me know or we can proceed with the

   17    scheduling issues and deal with perhaps the more substantive

   18    issues later.

   19              MR. RODRIGUEZ:    This is Frank Rodriguez, Your Honor, I

   20    think that's the way to go.       I think we should proceed now.

   21              I don't anticipate there is going to be any issues.

   22    I'd like to discuss it internally before we respond and Your

   23    Honor has allowed that courtesy, but I think we should proceed

   24    today.    If Your Honor had on your agenda to deal with these

   25    motions, which I understood was the case, I think we should
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    1    deal with the motions.

    2              THE COURT:   Okay.   So we are here for a few motions.

    3    They are interrelated, the plaintiff's motion -- well, the

    4    defendants -- defendant Imperial Brands' motion for a limited

    5    stay, which is joined by the codefendants in this case, as well

    6    as Imperial Brands' motion to extend time to respond to the

    7    complaint while the Court considers the motion to stay, and the

    8    plaintiffs' motion to strike the declaration of Andrew Rhys

    9    Davies, which was submitted in support of the motion to stay.

   10              So why don't we simply start with the motion to stay

   11    and I can -- I will consider arguments regarding the

   12    declaration along with that motion.       So Mr. Raymond.

   13              MR. RAYMOND:    Judge, as I mentioned, my co-counsel,

   14    Andrew Davies, will be making the argument on behalf of our

   15    team, please.

   16              THE COURT:   Okay.   Thank you.

   17              MR. RHYS DAVIES:     Thank you, Your Honor.     This is

   18    Andrew Rhys Davies.      All of this is subject to the jurisdiction

   19    of the defenses but we are here on this motion to stay because

   20    under EU law as interpreted by the European Commission --

   21              THE COURT REPORTER:     I'm sorry, he is breaking up.      I

   22    don't know if he is breaking up for others as well.

   23              MR. RODRIGUEZ:    This is Rodriguez, he is breaking up.

   24              MR. SURGEON:    Yes, I am noticing that as well.

   25              MR. RHYS DAVIES:     My apologies, is this any better?
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    1              THE COURT REPORTER:     No, I cannot understand what he is

    2    saying.

    3              MR. RODRIGUEZ:    No, I cannot understand anything you

    4    are saying.

    5              MR. RHYS DAVIES:    Can we try having everyone on mute?

    6              THE COURT:   Well, this is Judge Gayles.       Everyone not

    7    speaking, if you can put your phone on mute, and Mr. Rhys

    8    Davies, if you are using the speaker feature on your phone,

    9    maybe if you take that off, maybe that might help him speak

   10    directly into the receiver.

   11              MR. RHYS DAVIES:    Judge, I hope this is better.

   12              THE COURT:   It's still a little choppy but why don't

   13    you proceed and we will see how it goes.

   14              MR. RHYS DAVIES:    Thank you, Judge.     We are here on the

   15    same option because under EU law as interpreted by the European

   16    Commission, Imperial Brands cannot respond to the complaint

   17    without authorization.     This is somewhat frustrating to the

   18    Imperial Brands because this is a case that should be

   19    dismissed, but given EU law and the risk to Imperial Brands

   20    which is criminal liability for violating the requirement, we

   21    are asking for this very limited relief for a limited stay to

   22    give the European Commission time to decide this request for

   23    authorization.

   24              In essence, what we are asking is that the Court follow

   25    the approach that Judge Scola took in the Iberostar case and
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    1    grant that kind of limited stay.

    2              We think that that's required by considerations of

    3    comity.   As Judge Scola said in the Iberostar case, the

    4    European Commission has a strong interest in evaluating its own

    5    rules and regulations, and then when we look at the next

    6    factor -- I am talking here about the stay factors from the

    7    Turner case from the Eleventh Circuit.

    8              When we look to the fairness to the parties element, we

    9    think that those very strongly support a stay.         On the

   10    plaintiff's side, you know, there is no prejudice.          All we are

   11    asking for is a short delay, no impact on their substantive

   12    rights or their claim.     In fact, if they still haven't taken

   13    steps to issue a summons as to one of the defendants and so

   14    they really have no plausible argument about any prejudice from

   15    delay.    Also, they are only seeking money damages so there is

   16    no emergent relief being sought.

   17              On the other side of the scale, Imperial faces the risk

   18    of criminal prosecution and an unlimited fine if it responds to

   19    the complaint without authorization.        As Judge Scola said in

   20    the Iberostar case, you know, any EU company really does face

   21    immediate and concrete harm if it moves to dismiss without

   22    authorization.    And, actually, Imperial's position is worse

   23    than the defendant in the Iberostar case because Imperial faces

   24    an unlimited criminal fine as distinct from the Iberostar

   25    defendant which faced a fixed penalty per violation.
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    1              And then on the third Turner factor, judicial

    2    efficiency, here, as Judge Scola said, there is no reason to

    3    presume the EC is unlikely to render a prompt decision on the

    4    request for authorization.      Also, granting the short stay will

    5    avoid the need for a necessary default proceedings and also the

    6    risk of criminal proceedings in the U.K.

    7              Then, finally, if the stay we are asking for is not

    8    immoderate, as the Eleventh Circuit said, we can't have

    9    immoderate stays, what we are asking for is a stay that ends on

   10    the earlier of 25 days after the authorization is granted with

   11    a long stop date of February 9th, 2021, and that's five months

   12    after the original deadline, which is the same amount of time

   13    it took the plaintiffs to serve that complaint after they first

   14    threatened to do so.

   15              So I don't know if the Court has questions about any of

   16    that or any of the other points.       That's really what I wanted

   17    to say to the Court about the stay motion.

   18              THE COURT:   So you say the latest date would be the

   19    February 9, 2021, date and is that a date certain by which you

   20    would expect to receive a response or -- where do you get that

   21    date I guess is my question?

   22              MR. RHYS DAVIES:    Well, Your Honor, we hope to have a

   23    decision long before February 9, 2021.        You recognize we needed

   24    to pick an outside date.      That date is five months after the

   25    original deadline to respond to the complaint.
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    1              I will add, in case it's helpful, that December 31 is

    2    the end of the transitional period as the United Kingdom leaves

    3    the European Union, so as of January 1, decision-making

    4    authority reverts from the European Commission to the British

    5    government.    So in the event, we hope unlikely event, but in

    6    the event the European Commission hasn't made a decision by

    7    December 31, the deadline we propose will give the British

    8    government a few weeks to make that decision post January 1.

    9    So that was our thinking, Your Honor.

   10              THE COURT:   One of the issues raised by the plaintiff

   11    is certain SEC filings made by Imperial, and the plaintiff

   12    suggests that perhaps the position you were taking with the SEC

   13    is different than the position you are taking in this case.

   14              Can you address that issue?

   15              MR. RHYS DAVIES:    Yes, Judge.    There is no

   16    inconsistency.    All that the SEC filing says is that Imperial

   17    Brands takes us to comply with international sanctions to the

   18    extent they are applicable.      And that goes on to say, one of

   19    the facets of that is that there may be limitations of the

   20    nationalities of the employees who can be involved in certain

   21    parts of the business.

   22              You know, there is no inconsistency between that and

   23    what we are asking for here.      I mean, certainly, no one could

   24    seriously suggest that this European regulation requires

   25    Imperial to find U.S. employees and to have them involved in
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     1   sanctioned countries.      That seems to be the argument.       There is

     2   just no basis for that.

     3             Imperial is subject to the law to the extent it is

     4   subject to it and takes the steps it has to take to make sure

     5   its employees are not subject to criminal prosecution but there

     6   is no inconsistency at all.

     7             THE COURT:    Okay.   Mr. Surgeon on behalf of the

     8   co-defendants because you are joining in the request to stay --

     9   so you want the same stay.       If I grant a stay for Imperial, you

   10    want the same stay.      Is that what you are asking for?

   11              MR. SURGEON:    Yes, Your Honor, that's correct.

   12              THE COURT:    Can you just elaborate on that?       Is it

   13    because of discovery, because your cases are tied together

   14    factually?    What is exactly the reason why your clients would

   15    need a concurrent stay along with Imperial?

   16              MR. SURGEON:    Your Honor, as we set forth in the motion

   17    to join, the facts are intertwined with respect to Imperial and

   18    our clients, and as we note in the motion, in terms of how our

   19    clients became involved, it was -- we were involved because

   20    Imperial essentially hired our clients and so the relationship

   21    between our clients evolved and Imperial isn't something that

   22    can be separated out and, therefore, we think that if the case

   23    is to proceed it should proceed with both defendants

   24    participating.     You know, to the extent you also would like to

   25    comply with the Court's notice of court practice, I would
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     1   certainly think that there would be joint issues that both

     2   parties would want to address.       So in light of all the factors,

     3   we think that a stay that is coextended with any stay the Court

     4   grants to Imperial would make the most sense and also favor

     5   judicial economy under the circumstances.

     6             THE COURT:    All right.    Mr. Rodriguez.

     7             MR. RODRIGUEZ:    Yes, Your Honor, thank you.

     8             Judge, let's take a look at what defendants are asking

     9   and the basis of their ask.       It's a European Union, what they

   10    refer to as a blocking statute, Regulation 227196, and let me

   11    read from 227196, Article 4 specifically, Judge.          It's

   12    Document 14-B in Your Honor's docket.

   13              Article 4 says that no judgment of a Court located

   14    outside the community giving effect directly or indirectly to

   15    the laws specified in the Annex, and the Annex specifically

   16    addresses the Helms-Burton law, which is the basis of this

   17    lawsuit, shall be recognized or be enforceable in any manner.

   18              There is also an attachment to the motion to stay which

   19    is Document 14-C in the docket, and that's a European

   20    Commission document that is called a guidance note.          It's a Q

   21    and A on this particular European Union regulation, and there

   22    is a specific question, how does the blocking statute protect

   23    EU operators?

   24              And the response in this European Commission Guidance

   25    Note is in bold, and in bold it says, "The blocking statute
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     1   nullifies the effect in the EU of any foreign decision,

     2   including court rulings or arbitration awards based on the

     3   listed extraterritorial legislation or the acts and provisions

     4   adopted pursuant to them," again, referring to Article 4.           So,

     5   you know, let's call it what it is.

     6             What in effect Imperial is asking for is for this

     7   Court, apparently on the basis of international comity, to give

     8   deference to a statute that's not -- it's not really a blocking

     9   statute but a nullification statute, a statute that on its face

   10    unequivocally states that it will never recognize any ruling by

   11    this Court.

   12              I mean, look, comity is a two-way street, Your Honor, I

   13    would respectfully submit, and we want to refer the Court to a

   14    case that was cited both by the defendants in their motion and

   15    I believe their reply and also by the plaintiffs in its

   16    opposition memo.

   17              It is a Societe Nacional case.       It's cited in page

   18    eight of the plaintiff's opposition memo and this is what it

   19    says about comity.     It says, "Comity in the legal sense is

   20    neither a matter of absolute obligation, on the one hand, nor

   21    of mere courtesy or good will, upon the other.          But it is the

   22    recognition which one nation allows within its territory to the

   23    legislative, executive or judicial acts of another nation."

   24              Well, you know, in effect, Imperial is asking for, you

   25    know, for the Court to give deference to this very statute
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     1   that, again, on its face is basically saying we are not going

     2   to abide by anything that this Court is going to do.

     3             Now, going into the defendants' reply, they make a

     4   couple of arguments related to this.        They say, well, the Court

     5   should accord what they refer to in quotes due respect to the

     6   EU Commission's position that prohibit EU companies from moving

     7   to dismiss Title III actions without authorization, and they

     8   cite the Societe Nacional case that I cite to, Judge, on page

     9   two of the reply.     And they also argue that the Court has an

   10    obligation to take every reasonable precaution to avoid

   11    subjecting Imperial to, quote, different legal commands of

   12    separate sovereigns.      And it cites to In Re:     Grand Jury

   13    Proceedings, again, page three of its reply.

   14              Now, those cases, Judge, deal -- those are blocking

   15    statutes.    You know, they deal with blocking statutes.         Those

   16    are cases involving production of evidence, production of

   17    documents and how do you do it.

   18              Okay.   It's a totally different circumstance than what

   19    we have before this Court.       It is not -- these are truly

   20    blocking statutes, are you going to produce evidence this way

   21    or are you going to deal with producing evidence that way?

   22              It is not -- it's not what we have here where you are

   23    dealing with a statute that where the defendants want this

   24    Court to give deference to a statute that is basically saying

   25    we don't care what you do because we are not going to recognize
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     1   anything that you do.

     2             So, again, these are not nullification statutes.          These

     3   are blocking statutes, and I would respectfully submit they

     4   have no application to the issues before the Court before

     5   today.

     6             THE COURT:    So, Mr. Rodriguez, I mean, you do concede

     7   that -- well, from your argument, that these blocking statutes

     8   do exist.    Right?

     9             MR. RODRIGUEZ:    Yes, the blocking statutes, absolutely,

   10    yes.

   11              THE COURT:    What I am wondering is if your argument

   12    goes more to what might happen down the road as opposed to

   13    where we are procedurally now because it seems to me that

   14    Imperial is simply asking for time to seek permission.           It may

   15    be granted.    It may be denied, but your arguments seem to go to

   16    what will happen ultimately down the road.         So either -- well,

   17    there are a bunch of scenarios, right.

   18              So, you know, Imperial could proceed with litigation

   19    and prevail or it cannot proceed in the litigation and either

   20    have a default entered against it or lose.         And in those latter

   21    two scenarios where if Imperial loses, whether or not it's

   22    recognized by the European Union, that's a whole different

   23    issue than whether or not I give them an opportunity to find

   24    out if they can defend themselves I guess is the point that I

   25    am making.    I believe that we are talking right now about
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     1   something more procedural than the ultimate issue.

     2             MR. RODRIGUEZ:    Let me -- I'm sorry, Judge, I didn't

     3   mean to interrupt.

     4             THE COURT:    You didn't.

     5             MR. RODRIGUEZ:    May I respond?

     6             THE COURT:    Absolutely.

     7             MR. RODRIGUEZ:    Rhetorically, rhetorically, what

     8   happens if the Court grants the stay and the European Union

     9   Commission allows the defendant, Imperial, to file and litigate

   10    a motion to dismiss and the motion is denied?

   11              You know, I mean, are they going to get another stay so

   12    they can seek to file an answer?

   13              I mean, they have -- first of all, I'd like to see what

   14    this is that they filed.      I think that it's very relevant and

   15    it's very important.      What was their ask of the European Union

   16    Commission.    They are asking for, you know, something that's

   17    not insignificant from this Federal District Court, and I think

   18    we are entitled to see what it is that they have asked.

   19              You know, in their papers they are saying, well, you

   20    know, this is confidential and -- that's nonsense.          I mean, the

   21    specific article that they reference is not -- it doesn't say

   22    that it's confidential.      What it says is, if the European Union

   23    Commission itself were -- you know, gets confidential

   24    information, it will keep it confidential, unless the party

   25    that submits the information allows it to, you know, disclose.
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     1             But that's not an issue here.       Let's see what it is

     2   that they have asked because we could be chasing our tail for

     3   quite a long time.     I mean, if they go ahead and -- I mean,

     4   first of all, I would submit to Your Honor -- and Your Honor, I

     5   mean, look, if somebody asked for relief and the relief that

     6   they ask is, hey, let me litigate this case or at a minimum let

     7   me respond to the motion to dismiss, that is akin to, you know,

     8   when you are dealing with somebody and you are trying to sell

     9   something and you say, well -- they ask you, how much do you

   10    want for your widget.      Well, I want either a hundred dollars or

   11    $200.

   12              They stop listening at a $100, because that's what --

   13    well, we all know that.      It's a human condition.      So, here,

   14    they have asked the European Union let me at least respond to

   15    the motion to dismiss.

   16              Where does that get us?      I mean, do they have the

   17    audacity -- are they telling this Court, well, we are going to

   18    win on the motion to dismiss.       I think that's a little

   19    premature for them to take that position.         So, I am not -- I

   20    don't know where -- I am not sure that this relates to, you

   21    know, something down the road because, you know, first of all,

   22    I think we are entitled to see what it is that they filed.            I

   23    think that we -- I'd be in a better position to respond to your

   24    question if I knew exactly what it is they filed.

   25              You know, they claim that, no, it's not -- the best
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     1   evidence rule doesn't apply here because, you know, we are just

     2   asking for authority.      Well, no.   You know, Mr. Rhys Davies

     3   filed an affidavit and he said, we asked specifically for

     4   authority to litigate and to respond to the motion to dismiss

     5   and when you get to that level of specificity, there is no

     6   reason why we shouldn't see what it is that they filed before

     7   the EU Commission.

     8             THE COURT:    I'm sorry, sir, perhaps there is a better

     9   question for Mr. Rhys, but I am sure you have probably done

   10    your own research.

   11              These applications, do you know whether or not they are

   12    public or confidential?

   13              I am assuming if they were public you probably would

   14    have gotten your hand on it already, but the argument, as I

   15    understand it in the pleadings, was that the defendants don't

   16    want to divulge what's in the application because that's

   17    information that could be used against them, so I am assuming

   18    that's confidential.

   19              Do you know?    Counsel?

   20              MR. RHYS DAVIES:      Your Honor, this is Andrew Rhys

   21    Davies.    They are confidential.      They are not public.

   22              THE COURT:    Okay.

   23              MR. RODRIGUEZ:    Your Honor, this is Rodriguez, just for

   24    the court reporter's benefit.

   25              You would think that something that significant would
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     1   have already been set forth in their papers at this point that

     2   these inherently, especially based on our argument that these

     3   things are -- just all of them are confidential if you make the

     4   application case.       That's the first time I am hearing that.

     5              THE COURT:    So, Mr. Rodriguez, just kind of considering

     6   all of these issues, the kind of central issue that I kept

     7   coming back to was what is the prejudice to the plaintiff for a

     8   limited stay in this case?

     9              MR. RODRIGUEZ:    Well, the premise of your question,

   10    Your Honor, respectfully, I don't think I agree with because I

   11    don't think it would be a limited stay.         It's sort of an

   12    unlimited stay.     You know, it's a let's see what happens kind

   13    of stay.    So I, respectfully, want to push back a little bit on

   14    the premise of your question.       I don't think it's limited,

   15    number one.    So that has all kinds of room for prejudice.

   16               The best-case scenario, if it is limited, let's say to

   17    sometime in February, which is -- you know, that's already

   18    several months down the road.       We could be back in a position

   19    where they may or may not be authorized to proceed.          They may

   20    only be authorized to respond to the motion to dismiss and I am

   21    not sure that puts us in a great place because if we prevail,

   22    which I think we will, in the motion to dismiss, we are back

   23    in -- you know, they may have to ask for another stay.

   24               Another issue, Judge, that I would, respectfully, like

   25    to inject in this, which we set forth in our papers is, how
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     1   credible is the likelihood of -- I mean, the whole premise of

     2   their position is we are going to get prosecuted either civilly

     3   or criminally if we go forward with this.

     4             You know, I haven't seen it and they have not stated

     5   any party -- this has been in the books since 1996.

     6   Helms-Burton was passed in '96.       I am not aware of anybody ever

     7   being prosecuted, and there is a case, Photochromic Lens, cited

     8   again by both parties and it was cited in page six of

     9   plaintiff's opposition memo, and Photochromic deals with this

   10    French blocking statute and the production of documents.

   11              And the Court in Photochromic stated that, "Although

   12    the risk of criminal prosecution weighs heavily against

   13    ordering production, courts have discounted this risk when

   14    considering the French blocking statute.         The legislative

   15    history of the statute indicates that it was not intended to be

   16    enforced against foreign subjects, rather it was intended to

   17    provide foreign subjects with leverage in foreign courts.

   18              It's exactly what this statute is doing, providing

   19    leverage, you know, in foreign courts.

   20              If you go to the -- going back to the document that I

   21    referenced, I think it's 14-C in the docket, the first question

   22    is, what is the blocking statute, and as part of their response

   23    is -- its main purpose -- well, it says, the blocking statute

   24    aims at countering the unlawful effects of third country

   25    extraterritorial sanctions on the natural and legal persons
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     1   specified in Article 11, hereinafter referred to as EU

     2   operators.

     3              Its main purpose is, thus, to protect EU operators

     4   engaging in lawful international trade and/or movement of

     5   capital as well as related commerce activities with third

     6   countries in accordance with EU laws.

     7              The whole purpose of this is to protect the EU

     8   operators and give them leverage.        They are not going to face

     9   any civil prosecution.      Nobody has faced it up to now.       So, you

   10    know, I think the whole premise of their ask of this Court is

   11    flawed because they haven't produced any evidence of --

   12               THE COURT:   I just want to point out one thing, though,

   13    counsel.    Although the statute was passed many years ago, the

   14    Helms-Burton Act, people couldn't sue under that and these

   15    circumstances until last year.       Correct?

   16               MR. RODRIGUEZ:   That's true.     They couldn't sue until

   17    18 months ago.     I am not sure -- I'm not sure that they -- by

   18    the way, besides Cuba and the Helms-Burton, there is Iran and

   19    Libya mentioned.     I mean, it's been around, Judge.

   20               I mean, I suspect strongly, and unless they, you know,

   21    produce any evidence, I am not sure that there is any

   22    legitimate liability.

   23               THE COURT:   As the parties both mention in the

   24    pleading, Judge Scola took up this similar issue in Canto Marti

   25    versus Iberostar, case numbers 20-CV-20078-Scola, and he
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     1   granted initially the motion to stay prior to receiving a

     2   response, it appears, and then there is a motion for

     3   reconsideration.     And then he again -- or actually there was a

     4   motion to vacate the stay and he denied the motion to vacate

     5   the stay in a more detailed order considering all these issues

     6   that are presented here in this case, and his order denying the

     7   motion to vacate the stay came on September 15th, which I think

     8   is after the parties had largely briefed these issues.

     9             But why is his analysis wrong?       It's essentially the

   10    same analysis I have to make in this case.

   11              MR. RODRIGUEZ:    If I may, Your Honor, this is Rodriguez

   12    for the court reporter's benefit.

   13              THE COURT:    Yes.

   14              MR. RODRIGUEZ:    Judge, first of all, Judge Scola, I

   15    have known him for over 30 years, and he is an excellent judge

   16    but, you know, we don't know what was argued specifically and

   17    what he considered.      All I can go by is his order, and I can

   18    tell you that his order, there is no indication that he

   19    considered -- he viewed this as a blocking statute, so it's

   20    like the other blocking statute.

   21              There is no indication that the argument was made to

   22    him, Judge Scola, this is not a blocking statute, this is a

   23    nullification statute, and unlike the blocking statute and the

   24    analysis done in the blocking statute, which is essentially

   25    international comity -- I mean, Judge Scola's entire opinion is
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     1   based upon an analysis of international comity and,

     2   respectfully, Judge, this international comity would -- because

     3   of the nullification nature of this statute as opposed to a

     4   blocking statute, it doesn't deserve the respect and deference.

     5             There is no indication in Judge Scola's opinion or his

     6   order that he considered this.       I mean, you know when you have

     7   a statute that basically says, hey, I don't care what you do in

     8   your courts regarding Helms-Burton, we are not going to

     9   recognize anything you do, I think it's a different dynamic

   10    than a blocking statute.      That's number one.

   11              There is no indication that there was any discussion or

   12    that there was any acknowledgment or that Judge Scola

   13    considered the argument that I made that there is really no

   14    real threat of any impending sanctions.         This is actually

   15    something intended to protect, you know, entities like Imperial

   16    and to sit -- I think it's very naive to think that they are

   17    going to be prosecuted.

   18              You know, if they are, you know, dragged into a lawsuit

   19    and it's not their choosing and they are faced with the

   20    prospect of either defending or defaulting, I just can't see

   21    any realistic liability, unless they can show me otherwise

   22    where that has occurred.

   23              Then, the other thing is, there is no indication that

   24    Judge Scola considered what we discussed which is the

   25    possibility of these multiple stays and addressing this in a
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     1   piecemeal fashion, and the difference between asking, which is

     2   what they should have done.       Respectfully, what they should

     3   have done is gone to the European Union Commission and say,

     4   hey, let me litigate this case.       Not let me litigate, oh, and

     5   by the way, let me respond to the motion to dismiss.          There is

     6   no indication that Judge Scola considered these matters.

     7             So, respectfully, Judge, I don't have to tell you, Your

     8   Honor, a lot depends on -- and when you consider the issues

     9   before you, a lot depends on what's argued and what's put forth

   10    in front of you.     So, you know, that's the difference.

   11              THE COURT:    Finally, I mean, I want to circle back to a

   12    question I asked earlier with regard to prejudice.          I mean, I

   13    agree, I can't indefinitely stay the case if I decide that a

   14    stay is warranted but let's say it is a stay until

   15    February 9th, what substantial prejudice is there to the

   16    plaintiffs in this case because the plaintiff is seeking

   17    damages and an injunction.       How would this put the plaintiff in

   18    a worse position if a stay is granted?

   19              MR. RODRIGUEZ:    Your Honor, there is a very compelling

   20    basis and that is that my family members are implicated here.

   21    This all stems from a company and a property that was owned by

   22    my grandfather, who is also my Godfather, who passed away in

   23    1962.   His name is Ramon Rodriguez.

   24              He had five children.      My father was one of the five

   25    children.    Two of his children are still alive and those two
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     1   are Luis Rodriguez, who is my uncle, and Maria Rodriguez, my

     2   aunt.    Both of them are in their 90s, in their 90s.

     3              We have had recent decisions, and we don't have to get

     4   into a great detail here but recent decisions by Judge Scola

     5   regarding who has a claim.       You have to have -- according to

     6   Judge Scola, this is very preliminary, but if in '96 when

     7   Helms-Burton was passed at that point you had to have been an

     8   American citizen to have a claim, and you have to have the

     9   claim.    There is some question about assignability, if you can

   10    leave it in your will.      These are all in question.

   11               Okay.   So, yes, my uncle is, I believe -- Luis is 94, I

   12    believe.    They are both in their 90s, their mid 90s, so, yes,

   13    delay does matter because it's possible that their claims can

   14    be extinguished.

   15               THE COURT:   Okay.   Anything else on behalf of yourself,

   16    the plaintiff?

   17               MR. RODRIGUEZ:   Your Honor, no, not at this time.

   18               THE COURT:   Okay.   For counsel for the defendants, in

   19    no particular order, what about that issue of prejudice that

   20    crucial witnesses are in their 90s and a delay of several

   21    months could substantively prejudice the plaintiff?

   22               I guess starting with the counsel for Imperial, how do

   23    you respond to that issue?

   24               MR. RHYS DAVIES:     Your Honor, this is Andrew Rhys

   25    Davies.    It took these plaintiffs more than 16 months after
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     1   Title III went into effect to bring this lawsuit, so it's not

     2   really consistent with the idea that there is great urgency to

     3   preserve evidence that they took all of that time.          It then

     4   took them five months after threatening to file the lawsuit to

     5   actually serve Imperial.

     6             Now we are seeking this short stay and the risk to

     7   Imperial of potential criminal liability far outweighs the risk

     8   that's being identified, even if that risk were credible at all

     9   given the way that the plaintiffs have conducted this lawsuit

   10    in this very slow way to date.

   11              MR. RODRIGUEZ:    Your Honor, if I may respond, this is

   12    Rodriguez, you know, in order -- on behalf of the Rodriguez

   13    family, my -- these law firms filed a Title IV claim with the

   14    State Department, which we are certainly are authorized to do

   15    under the Helms-Burton Act and also Title III litigation.

   16              It was incredibly time consuming initially to -- you

   17    know, there is a lot of moving parts when you have five

   18    branches of the family and a lot of documentations to compile,

   19    documents to compile in order to make these presentations that

   20    we did first with the State Department and then in filing this

   21    action in the Federal District Court.

   22              The five months that they are referring to we sent a

   23    demand letter that we have to wait 30 days after the demand

   24    letter under Helms-Burton.       We then identified other

   25    defendants.    We sent an additional demand letter and, you know,
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     1   we -- there was no dilatory conduct here.         Okay.   We are where

     2   we are now and we have -- you know, I couldn't believe I heard

     3   this that their prejudice to them outweighs the prejudice -- I

     4   mean, these folks could die and possibly their claims

     5   extinguish with them.

     6             I would hope not, and I think there is very viable

     7   arguments to be made as to why that wouldn't happen but, you

     8   know, I suspect they are going to argue that that is the case.

     9   So in addition to you have in the case of my uncle, Luis,

   10    actually worked at the factory in question, that's the property

   11    in question, and has very, very significant testimony and would

   12    be a very important witness.       That's an issue.     My aunt as

   13    well, but there is also the issue of at least the potential

   14    that they are going to -- are they going to stipulate that they

   15    won't make that argument later on that the claims are

   16    extinguished if these folks pass?

   17              I mean, they are in their 90s, for goodness sake.          I

   18    mean, days matter, months matter, and there is no indication

   19    that this is going to be resolved any time in February.

   20              THE COURT:    Mr. Rhys Davies, I know what you are

   21    expressing as far as your limitations from making arguments but

   22    either you or maybe Mr. Surgeon can deal with that issue.            I

   23    mean, is that a real danger that if those family members die

   24    during the stay that the claims may -- the plaintiff may no

   25    longer be able to proceed on those claims and is there an
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     1   alternative?

     2             What I am also wondering is, I know that the

     3   codefendants are seeking a similar stay for the reasons

     4   previously stated but is the preservation of their testimony by

     5   the other defendants during a stay something that is possible?

     6             MR. RHYS DAVIES:     Your Honor, this is Andrew Rhys

     7   Davies again.     These points are being raised for the first time

     8   on the call and so I am very reluctant to address them, first

     9   of all, without speaking to the client but also bearing in mind

   10    the limitation to which Imperial is subject.

   11              But just to reemphasize there is still a defendant as

   12    to whom they have not issued a summons, so these claims about

   13    urgency ring very hollow in light of their conduct.          I

   14    understand that isn't a direct answer to your question, Your

   15    Honor, but I just feel a little bit reluctant to weigh into

   16    that having heard these issues for the first time now.

   17              MR. RODRIGUEZ:    If I may respond, Your Honor, there is

   18    a simple answer to that.      The defendant that I believe

   19    Mr. Davies is referring to is Cuba.        The only way to serve Cuba

   20    is via DHL.    DHL is telling me that Cuba is not letting them go

   21    in.   Because of the pandemic, Cuba isn't receiving any DHL

   22    packages.    That's what DHL is telling me.

   23              So that's the reason we haven't served Cuba.           I am

   24    assuming that's what Mr. Davies is referring to.

   25              MR. RHYS DAVIES:     I was referring to the defendant
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     1   Habanos, not Cuba.

     2             MR. RODRIGUEZ:    Habanos is a Cuban government-owned

     3   entity.    We have to serve them in that manner as I expressed,

     4   Your Honor.

     5             THE COURT:    All right.

     6             Okay.   Having considered everything, I am going to

     7   grant the Imperial Brands' motion to stay as well as the joint

     8   motion to stay by the codefendants.

     9             I am going to deny the motion, plaintiff's motion to

   10    strike the declaration of Mr. Rhys Davies.

   11              With regard to the stay, I am going to grant a stay of

   12    limited duration.      Like Judge Scola, I considered the factors

   13    set forth in Trujillo vs. Conover & Co. Communications,

   14    Incorporated at 221 F.3d 1262, an Eleventh Circuit opinion from

   15    2020 and Turner Entertainment Company versus Degeto Film, GmbH,

   16    cited at 25 F.3d 1512, an Eleventh Circuit opinion from 1994

   17    where the Court noted factors that should be considered when

   18    judging abstention pursuant to international comity, including

   19    the proper level of respect for the acts of a foreign nation,

   20    the fairness to the litigants in the efficient use of scarce

   21    judicial resource.

   22              One issue that wasn't specifically before Judge Scola

   23    but I think it's also important here is, we are here talking

   24    about not the substantive issue regarding comity and perhaps

   25    whether this Court, how this Court proceeds if Imperial is not
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     1   allowed to defend itself.      What we are talking about here is

     2   the more procedural issue of do I give them an opportunity to

     3   get a determination on whether they can properly defend

     4   themselves.

     5             The ultimate question is still to come, what happens,

     6   and so without prejudging it, I mean, Mr. Rodriguez may be

     7   ultimately right that my decisions in this case or this Court's

     8   decisions in this case are not dependent upon the European

     9   Union.    The decision issue, rather, in this limited

   10    circumstance is, do I give Imperial an opportunity to first

   11    find out what limitations, if any, they have on their ability

   12    to defend themselves in this case, and considering those

   13    procedural issues, I do think a stay is warranted.

   14              Obviously, it's going to take some time and I am

   15    mindful of the potential prejudice to the plaintiffs, as they

   16    identified, as two or more crucial witnesses are of advanced

   17    age.   I think perhaps one way to work around that is to have an

   18    exception to the stay to allow at least the other defendants

   19    and the plaintiff to proceed with compelling testimony of those

   20    specific people that were identified by Mr. Rodriguez because

   21    of their age.     Of course, Imperial won't be able to participate

   22    in such a deposition now but the deposition can occur again

   23    with Imperial, if necessary.

   24              So having considered those factors outlined in the

   25    Turner case and, of course, the Court's inherent power to
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     1   control its docket and to decide whether or not a stay is

     2   warranted, I do find that a limited stay is appropriate.

     3             The stay will not exceed past February 9th of 2021

     4   because we cannot proceed or wait indefinitely for an answer

     5   regarding these issues.

     6             Like Judge Scola, I am going to direct the parties to

     7   file joint status reports every 30 days to advise the Court

     8   where we are with regard to -- well, actually, it should -- I

     9   guess the status should be from Imperial to advise the Court

   10    where they are regarding the application.

   11              I am denying the motion to strike Mr. Rhys Davies'

   12    declaration for a number of reasons they outlined in their

   13    response to the motion.      The motion to strike is for pleadings.

   14    It's not a pleading, and the Court can simply weigh what's in

   15    the affidavit and accept what it thinks is appropriate in any

   16    event.

   17              A declaration is actually not needed in this instance.

   18    I don't think a declaration was filed in Judge Scola's case.

   19              Mr. Davies, Rhys Davies, is an officer of the Court.

   20    The attorney simply could have argued the issue with no reason

   21    to doubt his truthfulness as far as the fact that the

   22    application was filed.      I accept his representation that it is

   23    a confidential document, the application, and it is not subject

   24    to disclosure under the circumstances and so I don't find the

   25    best evidence rule to be applicable here.
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     1             I will issue an order to that effect.

     2             Is there anything else we need to take up today

     3   starting with Mr. Rodriguez?

     4             MR. RODRIGUEZ:    Nothing from the plaintiffs, Your

     5   Honor.

     6             THE COURT:    And as to Imperial, Mr. Rhys Davies?

     7             MR. RHYS DAVIES:     Nothing further, Your Honor, thank

     8   you.

     9             THE COURT:    All right.    And Mr. Surgeon, as to the

   10    other defendants?

   11              MR. SURGEON:    As to the WPP defendants, Your Honor,

   12    nothing else.

   13              THE COURT:    All right.    Then we will be in recess.

   14    Thank you.

   15              MR. RODRIGUEZ:    Thank you, Your Honor.

   16              MR. RAYMOND:    Thank you, Judge.

   17              (Proceedings were concluded at 11:00 a.m.)

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     1
                                 C E R T I F I C A T E
     2

     3
                     I hereby certify that the foregoing is an
     4
         accurate transcription of the proceedings in the
     5
         above-entitled matter.
     6

     7               Please note:    This hearing occurred during the

     8   COVID-19 pandemic and is therefore subject to the

     9   technological limitations of reporting remotely.

   10

   11

   12

   13
         September 30, 2020         /s/Patricia Diaz      _____
   14    DATE                       PATRICIA DIAZ, FCRR, RPR, FPR
                                    Official Court Reporter
   15                               United States District Court
                                    400 North Miami Avenue, 11th Floor
   16                               Miami, Florida 33128
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